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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                NORTHERN DIVISION

JOHN DOE                                                                      PLAINTIFF

V.                                            CIVIL ACTION NO. 3:18-CV-63-DPJ-FKB

THE UNIVERSITY OF MISSISSIPPI, ET AL.                                      DEFENDANTS

            DEFENDANTS’ SUPPLEMENTAL RESPONSE TO PLAINTIFF’S
                  MOTION FOR PRELIMINARY INJUNCTION

       In further support of their Response to Motion for Preliminary Injunction, the Defendants

submit the following exhibits:

       Exhibit “9”    Declaration of Rebecca Bressler; and

       Exhibit “10” Supplemental Declaration of Honey Ussery.

       FOR THESE REASONS, Defendants respectfully move this Court to deny Plaintiff’s

Motion for Preliminary Injunction. Defendants request such other relief as the Court deems

appropriate under the circumstances.

       THIS, the 13th day of August, 2018.
                                             Respectfully submitted,

                                             STATE OF MISSISSIPPI; THE UNIVERSITY OF
                                             MISSISSIPPI; STATE INSTITUTIONS OF HIGHER
                                             LEARNING; THE BOARD OF TRUSTEES OF STATE
                                             INSTITUTIONS OF HIGHER LEARNING; C.D.
                                             SMITH, JR.; SHANE HOOPER; TOM DUFF; DR.
                                             FORD DYE; ANN H. LAMAR; DR. ALFRED E.
                                             MCNAIR, JR.; CHIP MORGAN; HAL PARKER;
                                             ALAN W. PERRY; CHRISTY PICKERING; DR. DOUG
                                             ROUSE; DR. J. WALT STARR; GLENN F. BOYCE;
                                             JEFFREY S. VITTER

                                              /s/ Paul B. Watkins, Jr.
                                             J. CAL MAYO, JR. (MB NO. 8492)
                                             PAUL B. WATKINS, JR. (MB NO. 102348)
                                             J. ANDREW MAULDIN (MB NO. 104227)
                                             ATTORNEYS FOR DEFENDANTS
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                                  CERTIFICATE OF SERVICE

        I, Paul B. Watkins, Jr., one of the attorneys for Defendants, do certify that I have

electronically filed this document in the ECF system with the Clerk of the Court which sent

notification of the filing to all attorneys of record.

        THIS, the 13th day of August, 2018.

                                                /s/ Paul B. Watkins, Jr.
                                                PAUL B. WATKINS, JR.




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